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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION


RICHARD W. DEOTTE et al.,                   §
                                            §
       Plaintiffs,                          §
                                            §
v.                                          §    Civil Action No. 4:18-cv-00825-O
                                            §
STATE OF NEVADA,                            §
                                            §
       Defendant.                           §
                                            §

                                         ORDER

      In accordance with the Fifth Circuit’s opinion (ECF No. 117) and mandate (ECF No. 116),

the case is DISMISSED as moot.

      SO ORDERED on this 31st day of August, 2022.


                                                 _____________________________________
                                                 Reed O’Connor
                                                 UNITED STATES DISTRICT JUDGE




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